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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 MOBILITY CREDIT UNION,                        §
             Plaintiff,                        §
                                               §
 v.                                            §    Civil No. 3:16-CV-2968-G-BK
                                               §
 GASTON BENNETT MUGNIER,                       §
             Defendant.                        §

                                           ORDER

       On this day, the Court considered Plaintiff’s Notice of Dismissal of Defendant Gaston

Mugnier’s Bankruptcy Case and Motion to Re-Open This Case, Doc. 27. No response in

opposition was filed. Accordingly, the motion is GRANTED. The Clerk of the Court is

directed to reopen this case.

       Any motion pending at the time this case was closed that the proponent wishes to pursue

should be re-urged. The Court’s Second Amended Scheduling Order will be filed

contemporaneously with this order.


       SO ORDERED, May 7, 2018.
